        Case 1:21-cv-01304-MSN-JFA Document 35 Filed 08/17/22 Page 1 of 1 PageID# 587
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofVirginia
                                                                      __________


                        Randall Sousa                          )
                             Plaintiff                         )
                                v.                             )      Case No.     1:21-cv-01304-MSN-JFA
 Circuit Court of the Commonwealth of Virginia, et al.         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Circuit Court of Fairfax County, Virginia                                                                    .


Date:          08/17/2022                                                                 s/ Sheri H. Kelly
                                                                                         Attorney’s signature


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